
Shaw, C. J.
The defendant having offered his certificate of discharge under the insolvent laws, in defence of this action, the plaintiff offered evidence tending to show a fraudulent preference of a preexisting debt, contrary to St. 1844, c. 178, § 8. The defendant insisted that the plaintiff was bound also to show that the creditor, who received the preference, had reasonable cause to believe the defendant insolvent. But the court decided, that such proof was not necessary to show the discharge invalid.
We are of opinion, that this decision was entirely light *104The section is as follows: No discharge of any debtor shall be granted, or valid, if the debtor, when insolvent, shall, within one year, next before filing the petition, pay or secure any preexisting debt, if the creditor proves, that the debtor had reasonable and sufficient cause to believe himself insolvent.
The validity or invalidity of the discharge is not made to depend upon the knowledge or state of mind of the creditor, to whom the payment is made, but solely on the intent and purpose, and cause of belief of the debtor only.
From the cases relied on, Ex parte Jordan, 9 Met. 296; Wall v. Lakin, 13 Met. 171; Denny v. Dana, 2 Cush. 171; it seems manifest that the defendant confounds the cases of invalidating the discharge, and recovering back the property from the creditor fraudulently preferred. For the latter purpose, that of recovering back the property by the assignee, the intent and purpose, the knowledge and belief of the creditor, when receiving the property, are essential elements in the inquiry. Exceptions overruled.
